           Case 1:23-cv-10211-SHS-OTW                                Document 32            Filed 01/23/24                Page 1 of 1



                                                                                                                         New York | Miami
                                                                                                                         Established 1946
                                                                                                                         ghsklaw.com




                                                                January 23, 2024

    VIA ECF
    Hon. Sidney H. Stein
    Daniel Patrick Moynihan
    United States Courthouse
    500 Pearl Street
    New York, New York 10007


    Re:         Authors Guild et al. v. OpenAI Inc. et al., No. 1:23-cv-08292-SHS
                Sancton v. OpenAI Inc., et al., 1:23-cv-10211-SHS
                Basbanes et al. v. Microsoft Corporation et al., 1:24-cv-84-SHS

    Dear Judge Stein:

            My firm represents plaintiffs Nicholas Basbanes and Nicholas Gage in the related matter
    Basbanes et al. v. Microsoft Corporation, et al., 1:24-cv-84-SHS (the “Basbanes-Gage Action”).
    Yesterday, we filed a motion requesting that the Court (i) consolidate the Basbanes-Gage Action
    with the Authors Guild and Sancton matters referred to above, (ii) create a steering committee that
    includes Plaintiffs’ counsel and (iii) appoint plaintiffs’ counsel in the Authors Guild and Sancton
    matters as interim co-lead counsel. (See Basbanes-Gage Action ECF Nos. 21 and 22.) We had
    hoped to have this on file before Your Honor So Ordered the parties Joint Stipulation in the
    Authors Guild and Sancton matters given the impact our motion may have on the provisions set
    forth in that Joint Stipulation. Unfortunately, we were unable to do so given that the Joint
    Stipulation was filed on Friday, January 19, 2024, and we only became aware of it on Monday,
    January 22, 2024. (See Authors Guild Action ECF No. 56 and Sancton Action ECF No. 31, the
    “So Ordered Joint Stipulation”.) We respectfully request that Your Honor hold the So Ordered
    Joint Stipulation in abeyance pending resolution of our motion.


                                                                Respectfully submitted,

                                                                /s/ Michael P. Richter

                                                                Michael P. Richter



    cc: Counsel of record in the Authors Guild Action and Sancton Action (via ECF)




New York 107 Greenwich Street, Suite 2102, New York, NY 10006                      Miami 1441 Brickell Avenue, Suite 1010 Miami, FL 33131
T. 212.682.1800 | F. 212.682.1850                                                  T. 305.908.1100 | F. 305.912.0420
